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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION


Timothy J. Donohue,                        )
                                           )
              Plaintiff,                   )   Case No. 4:22-CV-04044-KES
                                           )
vs.                                        )   DEFENDANTS’ MOTION FOR
                                           )   PARTIAL SUMMARY
Arthur J. Gallagher & Co., a Delaware      )   JUDGMENT
Corporation; and Bob Jacobsen              )
                                           )
              Defendants.
                                           )


       Defendants, by their counsel of record, respectfully move the Court for an Order

granting them summary judgment on Plaintiff’s First Cause of Action in the Complaint. In

support of this Motion, Defendants refer the Court to all files and proceedings herein,

including Defendants’ Statement of Undisputed Material Facts, the Declaration of Bob

Jacobsen, and Defendants’ Memorandum of Law in Support of Motion for Partial

Summary Judgment, all filed herewith.

       Pursuant to L.R. 7.1C, Defendants request oral argument.
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Dated: July 28, 2022                    Respectfully submitted,

                                        OGLETREE, DEAKINS, NASH, SMOAK
                                        & STEWART, P. C.


                                        /s/ Hal A. Shillingstad
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                                        Gallagher & Co. and Bob Jacobsen




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